           Case 2:08-cr-00376-WBS-AC Document 642 Filed 02/03/17 Page 1 of 1

 1 PHILLIP A. TALBERT
   United States Attorney
 2 CHRISTOPHER HALES
   AUDREY B. HEMESATH
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:08-CR-0376-06 WBS

12                                Plaintiff,             ORDER

13                          v.

14   LEONARD WILLIAMS,

15                                Defendants.

16

17          The Court has reviewed the United States’ motion for an order requiring defendant Leonard

18 Williams to return to custody before 11:00 a.m. on Friday, February 10, 2017, to serve the remainder of

19 his 87-month sentence. For the reasons stated in the government’s motion, and in light of the fact that

20 the Ninth Circuit Court of Appeals has issued its order and mandate affirming defendant’s conviction

21 and sentence, the Court finds that there is no longer any basis for bail pending appeal. See 18 U.S.C. §

22 3143. It is therefore HEREBY ORDERED AS FOLLOWS:

23          Before 11:00 a.m. on Friday, February 10, 2017, defendant Leonard Williams shall surrender for

24 service of the remainder of his sentence at the institution designated by the Bureau of Prisons, or if no

25 such institution has been designated, to the United States Marshal for the Eastern District of California.

26          IT IS SO ORDERED.

27 Dated: February 2, 2017

28


      ORDER                                              1
